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   IT IS ORDERED as set forth below:



   Date: January 24, 2019
                                                      _________________________________

                                                               Jeffery W. Cavender
                                                          U.S. Bankruptcy Court Judge

 ________________________________________________________________


                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


In re:
                                                     CHAPTER 11
BEAUTIFUL BROWS, L.L.C.
                                                     CASE NO. 18-66766-jwc
         Debtor.



      CONSENT ORDER REQUIRING STRICT COMPLIANCE BY THE DEBTOR

         The Creditor Simon Property Group, L.P. (hereinafter the “Creditor”) filed its Motion to

Compel Debtor to Immediately Pay Post-Petition Rent or, Alternatively, Lifting the Automatic

Stay on December 21, 2018 and filed a Notice of Hearing for January 17, 2019 contemporaneously

with its Motion. (ECF Nos. 65 and 67). On January 17, 2019, counsel for the Creditor and counsel

for the above-captioned Debtor (hereinafter the “Debtor”) appeared before this Honorable Court

for the Hearing on the Motion. Counsel for the Debtor having stated no opposition to the entry of

this order,

         IT IS HEREBY ORDERED that


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      1. The Debtor must pay the Creditor the total amount of post-petition rent, including the

         amount of rent arising from the petition date through October 31, 2018, due and owing

         by the Debtor under the Leases for the locations at the Mall of Georgia and Town

         Center at Cobb. The Debtor must pay $19,920.27 to the Creditor for the post-petition

         rent through January 18, 2019 for the Mall of Georgia Lease. The Debtor must pay

         $21,602.29 to the Creditor for the post-petition rent through January 18, 2019 for the

         Town Center at Cobb Lease. The total amount of post-petition rent to be paid to the

         Creditor by the Debtor pursuant to this Order is $41,522.56;

      2. The Debtor must reimburse the Creditor for the reasonable amount of attorney’s fees

         and costs incurred by the Creditor in preparing and prosecuting its Motion, and the total

         payments for attorney’s fees and costs shall equal $6,750.00. The payment of such

         attorney’s fees and costs is required as a part of the Debtor’s obligations under 11

         U.S.C. § 365(b)(1), which must be fulfilled prior to the Debtor’s assumption of the

         Leases;

      3. In the event the Debtor rejects one of the subject Leases but assumes the other subject

         Lease, the Debtor is still required to pay the full amount of attorney’s fees and costs in

         the total amount of $6,750.00 as a part of the Debtor’s obligations under 11 U.S.C. §

         365(b)(1), which must be fulfilled prior to the Debtor’s assumption of the Leases;

      4. The Debtor must pay the Creditor the total amount of post-petition rent set forth in this

         Order by the close of business on Thursday, January 31, 2019, which is fourteen (14)

         days from the date of the Hearing on the Creditor’s Motion;

      5. The Automatic Stay shall be deemed immediately and automatically terminated as to

         the Mall of Georgia Lease and corresponding property in the event the Creditor does



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           not receive complete payment of $19,920.27 from the Debtor by the close of business

           on Thursday, January 31, 2019;

       6. The Automatic Stay shall be deemed immediately and automatically terminated as to

           the Town Center at Cobb Lease and corresponding property in the event the Creditor

           does not receive complete payment of $21,602.29 from the Debtor by the close of

           business on Thursday, January 31, 2019;

       7. The Lease between the Debtor and the Creditor for the Mall of Georgia property shall

           be deemed rejected in the event the Creditor does not receive complete payment of

           $19,920.27 from the Debtor by the close of business on Thursday, January 31, 2019,

           and the date the Lease shall be deemed rejected shall be Thursday, January 31, 2019;

           and

       8. The Lease between the Debtor and the Creditor for the Town Center at Cobb property

           shall be deemed rejected in the event the Creditor does not receive complete payment

           of $21,602.29 from the Debtor by the close of business on Thursday, January 31, 2019,

           and the date the Lease shall be deemed rejected shall be Thursday, January 31, 2019.

                                   END OF DOCUMENT

Prepared and Submitted By:                                 Consented To:

/s/ Nicholas J. Garcia                                     _/s/_Jason L. Pettie___

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